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UNITED STATES
SECURITIES AND EXCHANGE COMMISSION
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BROOKFIELD PLACE, 200 VESEY STREE]`, SU|TE 400
NEW YORK, NEW YORK 10281-1022

 

November 28, 2017
Filed on ECF
Honorable Brian M. Cogan
U.S. District Judge
United States District Court
Eastem District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

Re: SEC v. Platinum Management (NY) LLP, et al., No. 16-6848 (BMC)
Proposed Joint Agenda

Dear Judge Cogan:

Pursuant to the Court’s Order dated October 20, 2017, the parties in the above-referenced case
were directed to file a Proposed .loint Agenda 48 hours in advance of the status conference that the
Court scheduled for Friday, December l, 2017, The following is the parties’ Proposed Joint Agenda.

l. Plaintiff Securities and Exchange Commission (“SEC”) proposes that the Receiver
provide the Court, to the extent the Court would find it helpii.ll, with a brief overview of
the entities currently under the Receivership’s supervision; issues the Receivership is
currently dealing with; and matters that the Receiver anticipates may be brought before the
Court in the near future. The Defendants do not oppose this proposed agenda item.

2. The Defendants propose discussing a modification of the complete discovery stay
imposed by Judge Irizarry such that the discovery stay would only extend to testimonial-
type activities, including depositions, interrogatories and pleadings, by any party or
witness with a legitimate basis to invoke his/her Fiith Amendment rights 'I`he U.S.
Attorney’s Office for the Eastem District of New York, which originally moved for the
discovery stay, has informed the undersigned that it will oppose any modification of
Judge Irizarry’s discovery stay. While the SEC took no position on the initial motion as to
whether there should be a complete discovery stay or discovery should go forward as to all
parties, the SEC opposes the proposed modiiication that would permit Defendants to
pursue discovery of the SEC and third parties but permit them to assert their Fifth
Amendment rights and avoid providing substantial reciprocal discovery, such as being
deposed, answering the Complaint or answering interrogatories

3. Defendant Nordlicht proposes discussing the formation of an Investor Advisory
Committee as a formal mechanism by which non-Defendant investors in the Platinum
funds would be able to express their position to the Court on the Receiver’s proposed
actions. The SEC will oppose this request.

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The undersigned has circulated this letter to Defendants’ counsel and they agree that it
accurately reflects the parties’ Proposed Joint Agenda.

Respectfully submitted,

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Kevin P_ McGrath
Senior Trial Counsel

Cc (via email):

All counsel of record

